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16

17                               UNITED STATES DISTRICT COURT

18                       FOR THE NORTHERN DISTRICT OF CALIFORNIA

19                                       OAKLAND DIVISION

20    WHATSAPP LLC, and
                                        )           Case No. 4:19-cv-07123-PJH
      META PLATFORMS INC.,              )
21                                      )           [PROPOSED] ORDER GRANTING
                      Plaintiffs,       )           PLAINTIFFS’ MOTIONS IN LIMINE
22                                      )
             v.                         )           Pretrial Conference Date: April 10, 2025
23                                      )
                                        )           Time: 2 p.m.
24    NSO GROUP TECHNOLOGIES LIMITED )              Ctrm: 3
      and Q CYBER TECHNOLOGIES LIMITED, )           Judge: Hon. Phyllis J. Hamilton
25                                      )           Trial Date: April 28, 2025
                      Defendants.       )
26                                      )
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 1                                         [PROPOSED] ORDER

 2          Upon consideration of Plaintiffs WhatsApp LLC (“WhatsApp”) and Meta Platforms, Inc’s

 3   Motions in Limine seeking to preclude Defendants NSO Group Technologies Limited and Q Cyber

 4   Technologies Limited (together, “NSO”) from offering certain evidence, testimony, and argument at

 5   trial, and finding that good cause exists, the Court hereby grants the following:

 6          1. Plaintiffs’ Motion in Limine No. 1 precluding evidence, testimony, and argument by NSO

 7              regarding the alleged identities of its customers or prospective customers, including

 8              governments or law enforcement, military, or intelligence agencies;

 9          2. Plaintiffs’ Motion in Limine No. 2 precluding evidence, testimony, and argument by NSO

10              that Pegasus is used or needed to investigate crime, including child sex exploitation and

11              terrorism;

12          3. Plaintiffs’ Motion in Limine No. 3 precluding evidence, testimony, and argument by NSO

13              regarding its customer due diligence;

14          4. Plaintiffs’ Motion in Limine No. 4 precluding evidence, testimony, and argument by NSO

15              regarding its lack of control over its customers;

16          5. Plaintiffs’ Motion in Limine No. 5 precluding evidence, testimony, and argument by NSO

17              regarding the alleged insufficiency of WhatsApp’s security measures;

18          6. Plaintiffs’ Motion in Limine No. 6 precluding evidence, testimony, and argument by NSO

19              regarding the purported use of WhatsApp by bad actors, including characterizing the

20              WhatsApp users who were targeted in NSO’s attacks as purported bad actors;

21          7. Plaintiffs’ Motion in Limine No. 7 precluding evidence, testimony, and argument by NSO

22              regarding Plaintiffs’ reputation; and

23          8. Plaintiffs’ Motion in Limine No. 8 precluding expert testimony from Col. Ty Shepard and

24              Joshua J. Minkler, and testimony from any other NSO witness offering similar policy

25              opinions.

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     [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTIONS IN LIMINE CASE NO. 4:19-CV-07123-PJH
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 1   IT IS SO ORDERED.

 2
      Dated:
 3                                                              Honorable Phyllis J. Hamilton
                                                                 United States District Judge
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     [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTIONS IN LIMINE CASE NO. 4:19-CV-07123-PJH
